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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DAVID TALCOTT USSERY
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. S 05-34 LKK
                                     )
12                  Plaintiff,       )      STIPULATION AND [lodged] ORDER TO
                                     )      REDUCE SENTENCE PURSUANT TO 18
13        v.                         )      U.S.C. § 3582(c)(2)
                                     )
14   DAVID TALCOTT USSERY,           )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant, DAVID TALCOTT USSERY, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   PHILLIP A. TALBERT, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   On September 12, 2006, this Court sentenced Mr. Ussery to a
27   term of imprisonment of 165 months;
28        3.   On May 15, 2008, the parties filed a stipulation to reduce
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 1   Mr. Ussery’s sentence to 143 months;
 2           4.    On May 22, 2008, the Court issued an order reducing Mr.
 3   Ussery’s sentence to 143 months;
 4           5.    The total offense level applicable to Mr. Ussery was
 5   subsequently lowered by the United States Sentencing Commission in
 6   Amendment 750, and an appropriate sentence within the new guideline
 7   range considering the factors set forth in 18 U.S.C. § 3553(a) would be
 8   121 months;
 9           6.    Mr. Ussery merits a reduction in his sentence based on the
10   factors listed in 18 U.S.C. § 3553(a), as well as considerations of
11   public safety and Mr. Ussery’s positive post-sentencing conduct;
12           7.    Accordingly, the parties request the court enter the order
13   lodged herewith reducing Mr. Ussery’s term of imprisonment to 121
14   months.      At such time as the Court approves this stipulation, Mr.
15   Ussery agrees to the dismissal of his pro se motion filed November 28,
16   2011.
17   Dated:       December 7, 2011
18   Respectfully submitted,
19   BENJAMIN B. WAGNER                        DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
20
21
       /s/ Phillip A. Talbert                    /s/ David M. Porter
22   PHILLIP A. TALBERT                        DAVID M. PORTER
     First Assistant U.S. Attorney             Assistant Federal Defender
23
     Attorney for Plaintiff                    Attorney for Movant
24   UNITED STATES OF AMERICA                  DAVID TALCOTT USSERY
25                                           ORDER
26           This matter came before the Court on the pro se motion of the
27   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)
28   filed on November 28, 2011.

     STIPULATION AND ORDER TO REDUCE SENTENCE
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 1        On September 12, 2006, this Court sentenced Mr. Ussery to a term
 2   of imprisonment of 165 months.         On May 22, 2008, the Court resentenced
 3   Mr. Ussery pursuant to 143 months to the parties’ stipulation.
 4        The parties agree, and the Court finds, that Mr. Ussery is
 5   entitled to the benefit of the retroactive amendment reducing crack
 6   cocaine penalties, and that an appropriate sentence within the new
 7   guideline range in light of the factors set forth in 18 U.S.C.
 8   § 3553(a) would be 121 months.
 9        IT IS HEREBY ORDERED that the term of imprisonment originally
10   imposed is reduced to 121 months.
11        IT IS FURTHER ORDERED that the pro se motion filed November 28,
12   2011 is DISMISSED;
13        IT IS FURTHER ORDERED that all other terms and provisions of the
14   original judgment remain in effect.
15        Unless otherwise ordered, Mr. Ussery shall report to the United
16   States Probation office closest to the release destination within
17   seventy-two hours after his release.
18   Dated:     December 8, 2011
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     STIPULATION AND ORDER TO REDUCE SENTENCE
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